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                     IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS

                             5TH DIVISf()~IVISION                           FILErJ 10/26/10 16:21=16
                                                                          Pat G'Bri~-1 PUi.3Ski Circuit Clerk
     REPLACEMENT PARTS, INC.;                                             C'P.2
     PARTS WAREHOUSE, INC.j AND PCD, INC.
     d/b/a THREE WAY TRANSFER OF AR                                                     PLAINTIFFS

     VS.
                                          6Jl~. CV 2010 6118
     UNION PACIFIC RAILROAD COMPANY                                                    DEFENDANT


                    COMPLAINT FOR INJUNCTIVE RELIEF AND FOR DAMAGES

             Comes now the plaintiff, Replacement Parts, Inc. and Parts Warehouse, Inc.

     (hereinafter at times collectively referred to as "RPI") and PCD, Inc. d/b/a Three Way

     Transfer of AR ("Three Way") by and through their attorneys, Barber, McCaskill, Jones &

     Hale, P.A, and James, Carter & Coulter, PLe., and for their Complaint for Injunctive Relief

     and for Damages, states:

                                            INTRODUCTION

             1.    With respect to each plaintiff, the sole access to their businesses crosses over

     a rail line used by Union Pacific. In recent years, Union Pacific began using the rail line as

     an extension of its rail yard. which is located due west of the plaintiffs' businesses. Over the

     last two years, Union Pacific has used the rail line in an unlawful manner by frequently

     blocking the sole access to each of the plaintiffs' businesses, sometimes for hours at a time

     during peak working hours. The excessive and unlawful blockages have resulted in (1) the

     unreasonable risk of harm to the customers and employees of the plaintiffs, (2) the

     disruption of the plaintiffs' businesses and model of operation, (3) harm to the plaintiffs
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                                                                                       EXHIBIT
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reputation, (4) loss of the use and enjoyment of the plaintiffs' property, and (S) diminished

value of the plaintiffs' property.

        2.      The plaintiffs seek to enjoin Union Pacific Railroad from blocking access to

their land and businesses; compelling Union Pacific to repair and maintain the fallen power

lines, obstructed drainage, and the right of way in general; and prevent Union Pacific from

depriving the plaintiffs of the use and enjoyment of their property through Union Pacific's

continued use of the crossings at RPI and Three way as part of Union Pacific's rail yard. In

addition, RPI and Three Way seek to recover damages sustained by the plaintiffs as a result

of Union Pacific's misconduct, as is further described below.

                                     JURISDICTION AND VENUE

        3.      Replacement Parts, Inc. and Parts Warehouse, Inc. are Arkansas Corporations

with their pnncipal place of business located at 1901 East Roosevelt Road, Little Rock,

Arkansas 72206. Parts Warehouse, Inc. is a wholly owned subsidiary of Replacement

Parts, Inc.

        4.      PCD. Inc., d/b/a Three Way Transfer of AR is an Arkansas corporation with

its principle place of business in Fort Smith. Arkansas and with a terminal located at 3100

Dugan Street, Little Rock, AR 72206. Three Way's Little Rock terminal is located next door

to RPl's facilities.

        5.      The defendant Union Pacific Railroad Company ("Union Pacific") is a foreign

corporation with its principal place of business in Omaha, Nebraska. Union Pacific may be

served through its registered agent, The Corporation Company, 124 West Capitol Avenue,

Ste. 1900, Little Rock, Arkansas 72201.
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        6.     All of the wrongful conduct identified in this Complaint occurred within

Pulaski County, Arkansas. This Court has jurisdiction over the su bject matter of this case.

        7.     The defendant conducts business in Little Rock, Pulaski County, Arkansas,

and this Court has personal jurisdiction over the parties in this case.

        8.     Because all of the events identified in this Complaint occurred in Pulaski

County, Arkansas, venue is proper in this Court

                                   STATEMENT OF FACTS

        9.     This lawsuit involves the real property used by the plaintiffs for their

 businesses, located at 1901 East Roosevelt Road and 3100 Dugan Street in Little Rock.

Arkansas.     For the purposes of this Complaint, the area was originally owned through

1970's by Chicago, Rock Island and Pacific Railroad Company (hereinafter at times referred

to as "CRl&P RR").

        10.    The land at issue was subsequently purchased by Robert M. Goft Jr., Richard

A. Goff, Sr., and Julie Goff Allen (the "Goff Property"). The Goff Property was subsequently

 developed into commercial lots. RPI's property at issue in this lawsuit was at times

 identified as Lot 1 of StrafeD's Replat of Goffs No. 1 Addition to the City of Little Rock,

 Pulaski County, Arkansas. FollOWing the purchase of the Goff Property, the Chicago, Rock

. Island and Pacific Railroad Company released its remaining interest in the property to

 Robert M. Goff, Jr., Richard A. Goff, Sr., and Julie Goff Allen. The CRl&P railroad line funning

through the land was thereafter abandoned.

        11.    A copy of the Assignment which documents the above transactions is

attached hereto as Exhibit "1". A copy of the Plat, which identifies StrafeD's Replat and
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CRl&P railroad line, is attached hereto as Exhibit "2". The Goffs also granted a "perpetual

but non·excJusive easement for pedestrian and vehicular traffic" extending North and

South between Roosevelt Road and Lot 1 of the Strafeo Replat. A copy of the public

easement is attached hereto as Exhibit "3."

       12.    The easement between Roosevelt Road and Lot 1 of the Strafco Replat

crosses over the abandoned CRl&P rail line. The railroad crossing to RPI's property is a

public crossing with a DOT number.

       13.    Lot 1, Strafco's Replat was conveyed to the City of Little Rock. On or about

October 29, 1986, the City of Little Rock conveyed the property via special warranty deed

to Parts Warehouse, Inc.      A copy of the special warranty deed documenting these

transactions is attached hereto as Exhibit "4."

       14.    Dugan Street extends from Roosevelt road to Three Way's terminal in Little

Rock, and Dugan Street runs parallel to the perpetual easement used by RPI to access its

property. Like the public easement used by RPI, Dugan Street crosses over the rail line, and

that cTOssing is a public crossing with a DOT number. Dugan Street is the only means of

ingress and egress to Three Way's business.

       15.    Union Pacific operates a rail yard due west of the property at issue in this

lawsuit. Several years ago, Union Pacific began using the railway line that had been

abandoned by CRI&P. Union Pacific's initial use of the line did not interfere with Three

Way's or RPl's ability to use and enjoy the property or otherwise operate their buslnesses

in a safe and efficient manner.


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       16.    Representatives ofRPI and Three Way subsequently observed Union Pacific's

increased use of the abandoned rail line. Over the last two years, employees of RPI and

Three Way have observed that Union Pacific has in fact been using the abandoned rail line

as an extension of its railway yard due west of RPl's property. To be specific, Union Pacific

more frequently parked trains in a m~nner that blocked all means of travel to and from the

businesses and property of the plaintiffs, and Union Pacific     e~gineers   frequently moved

sections of trains back and forth while continuously blocking access to the property. At

times, access to and from RPl's property was blocked for multiple hours on each occasion,

and on days with heavy traffic, Union Pacific engineers would block traffic cumulatively for

several hours dUring the busiest time of the workday. Again, the abandoned rail line is

situated in such a manner that the only means of lawful ingress and egress to the

businesses and property of RPI and Three Way is through the crossings that are frequently

blocked by Union Pacific.

       17.    Union Pacific's transition to using the rail line as an extension of its yard

became evident during an incident when Union Pacific blocked the crossing at the

beginning of a work day, which left the majority of RPl's employees stranded outside the

facility for over two hours. RPI initially believed that the blockage was an isolated incident.

However, RPl's employees observed increased frequency in blockages including several

more that exceeded two hours in length during the busiest time of RPl's work day. Over

the last year, RPI complained to Union Pacific about the blockages, and While the

representative of Union Pacific have been courteous, they failed remedy the problem.


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        18.     Likewise, employees of Three Way also recaIl being locked in and out of their

business for hours at a time over the last two years, while waiting on the trains to move.

Three Ways' business is located near RPI's facility, and in many instances, the crossing at

Dugan Street and to RPI are simultaneously blocked by a single train. On one Sunday in

May of 2009, the crossings were blocked in excess of two hours. As a result, the Three Way

operations manager, who intended to be at work briefly, was effectively locked in the

facility on his day off.

        19.     Although there were many instances in which Three Way's access was

blocked for lengthy periods of time, the Three Way operations manager recalls a

particularly aggravating event when the Dugan Street crossing was blocked again for

approximately two hours in 2010. Due to this lengthy blockage, one of Three Way's

drivers, who was locked in the facility and who had only a limited amount of driving hours

per Federal law, lost two hours of driving time, and he was unable to complete all of his

scheduled runs.

        20.     Over the last two years, the employees of RPI and Three Way have frequently

observed customers and employees lined up while waiting to get in and out of each

business as a result of trains blocking the business crossings for several minutes and

sometimes hours.

        21.     RPI depends upon having open access over the abandoned rail line so that it

can deliver products to its customers and so that its customers may have access to RPI. On

a normal business day without blockages, there are hundreds of deliveries in and out of the

facility.   Likewise, Three Way depends on haVing open access over the Dugan Street
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crossing seven days a week so that its trucks remain on schedule. Union Pacific is capable

of using the rail line in a lawful manner that does not interfere with the rights of the

plaintiffs because until the last two years, any delays associated with the crossings were

insignificant and did not adversely impact RPI or Three Way.

       22.    Notwithstanding the business interruption, each time the crossings are

blocked by a Union Pacific train, there is no possibility of workers getting home to their

families or to daycare to pick up their children, and there is no possibility of emergency

vehicles getting in or out of the facility in the event of an emergency. Being held hostage as

a result of the blocked crossings creates harsh feelings and has a detrimental impact on the

morale and corporate culture ofthe plaintiffs, which is in stark contrastto the established

business models of the plaintiffs.

       23.    As a result of these events and concerns, in late 2009, RPl began

intermittently documenting the frequency with which Union Pacific would block access to

RPl's property, and on those occasions, RPI contacted various representatives of Union

Pacific in an attempt to address the problems and safety concerns.            After repeated

complaints, Union Pacific would cease parking trains and blocking the plaintiffs' property

for periods of time, but Union Pacific always resumed its practice of blocking the plaintiffs'

access to their businesses and property.

       24.    While investigating a potential solution to the frequent blockages, RPI

learned that Union Pacific is prohibited from parking a train at a crossing in excess of ten

minutes. RPI's employees have observed parked trains blocking RPl's sole access to the


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business in excess of ten minutes on at least seven occasions in September of 2009, with at

least two ofthose blockages lasting an hour or longer.

       25.    RPI documented unlawful blockages on at least ten occasions in October of

2009, with the longest blockage lasting approximately an hour. RPI documented unlawful

blockages on at least three occasions in November of 2009, and during that month there

were numerous traffic problems created by the crossing arms becoming activated for no

apparent reason.

       26.    RPI documented unlawful blockages on at least two occasions in December of

2009, one time in January of 2010, three times in February of 2010, and five times in March

of2010.

       27.    On March 5, 2010, a Union Pacific train blocked the crossing from 4:28 p.m.

to 5:45 p.m., which again prevented employees from leaving timely and was a hardship on

those who could not pick up their children from daycare, etc. In March of 2010, there were

at least three instances in which a train blocked the crossing for thirty minutes or longer.

Union Pacific had a number of maintenance problems with the track throughout !:he month

of March 201D, and on multiple days in March, the crossing arms were up and down all day

long blocking traffic even though no trains were present.

       28.    RPI documented unlawful blockages on at least eight occasions in April of

2010, and two of those blockages lasted an hour and ten minutes during high traffic

periods for RPI. On April 13 alone, RPI's crossing was blocked two times for twenty

minutes, one time for an hour and 13 minutes, and one time for forty-nine minutes, all of

which occurred in peak working hours. There were only two instances in May of 2010 in
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which the crossing was blocked for over ten minutes with the trains shifting back and forth

as they were entering Union Pacific's yard. There were also continued blockages caused by

maintenance work and the crossing arms activating for no apparent reason.

        29.   The blockages in June of 2010 were consistent with how Union Pacific

previously used the rail line. Although traffic was heavy that month, there were only two

instances in which RPI's crossings were blocked for more than ten minutes even with the

trains stopping and shifting back and forth as they prepared to enter Union Pacific's rail

yard.

        30.   The blockages in July of 2010 were relatively minor with the exception of July

14. On that date, one train blocked the crossings to RPI and Three Way for fifty minutes,

and approximately ten minutes after that train left, another train blocked the crossings for

approximately one hour and seven minutes. In other words, all access to and from Three

Way and RPI was blocked for nearly two hours in the middle of the work day. During those

periods, traffic was backed up waiting to get in and out of RPI's facility, and at least one

customer parked his truck, climbed through the parked train. completed his transaction

with RPI, climbed back through the train, and left the facility. In addition, it is apparent that

some customers who were blocked while waiting to enter RPI's facility were blocked again

for over an hour as they tried to leave.

        31.    On August 16, 2010, a Union Pacific train blocked RPI's crossing for

approximately thirty five minutes, and returned about seven minutes later to block the

crossing for another fourteen minutes. On August 25, 2010, an employee had a medical

emergency and an ambulance was called. Luckily, the ambulance only had to wait at the
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crossing for a few minutes before getting through. Later that afternoon, the crossing was

blocked by a parked and shifting train for approximately twenty five minutes.

       32.    In September of 2010, there were two occasions in which RPl's crossing was

blocked by a parked and shifting train for longer ten minutes. However, on September 28,

2010, the crossing arms were down and blocking RPl's crossing for an hour without a train

being present. Although no train was present, the blocked crossing restricted RPI's ability

to get its trucks in and out of the facility. Union Pacific's practice of using the rail line at

RPI's crossing as part of Union Pacific's rail yard has continued into October of 2010, with

the latest documented incident occurring on October 6, 2010.

       33.    In addition to the specific instances of blockages identified above, employees

of RPI have repeatedly witnessed customers and employees backed up to Roosevelt Road

waiting for access. The RPI employees have further observed customers leave in apparent

frustration. On multiple occasions, RPI employees have witnessed customers climbing

through the parked trains to gain access to RPJ, and on other occasions, employees-in

violation of the instructions, training, and counseling provided by RPl's management-

have delivered products to RPI customers by walking through the train and hand-

delivering the products to the customers.

       34.    The repeated, unlawful blockages have created an exceptionally dangerous

situation for RPI's employees and customers.         As is demonstrated by the event that

occurred on July 14, 2010, RPI's customers and employees are becoming too comfortable

with the frequent blockages.       As a result, the customers and employees are taking

exceptional risks by climbing through the parked trains, which could lurch into motion at
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any given moment. Upon information and belief, Union Pacific has knowledge of the risks

of serious physical injury and death that result from a railroad company's repeated failure

to abide by crossing regulations because travelers become accustomed to the blockages

and attempt to cross the track at great risk. Union Pacific's practice of parking its trains in

front of Three Way's and RPI's facilities has created a substantial, unreasonable and

foreseeable risk of harm to the public and employees of RPI. It is only a matter of time

before someone is injured or killed if Union Pacific continues to ignore the regulations

governing blocked crossings.

       35.    Although Union Pacific has chosen to use the abandoned rail line, apparently

without color of title, Union Pacific has failed to maintain the pathway it is utilizing. There

are downed power lines throughout the rail line property as well as clogged drainage. The

drainage problems have resulted in the flooding of RPl's property and required RPI to

divert traffic for its customers and employees, again depriving RPI of the use and

enjoyment of its property. In addition, the downed power lines come in contact with the

water when the area floods due to the clogged drainage. There is an obvious danger of

electrocution in the event the downed power lines are, or ever become, energized

intentionally or inadvertently. The Union Pacific's agents have represented that the power

lines and drainage areas were the responsibility of Union Pacific, but no action has been

taken to address the risks or RPl's concerns.

       36.     Representatives of RPI have had multiple meetings and telephone

conversations with representatives of Union Pacific in an attempt to alleviate the problems

and dangers of Union Pacific's activities. Representatives of Union Pacific have repeatedly
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promised to "work with n RPJ, but the blockages of Three Way's and RPl's businesses and

property continues. In addition, representatives of Union Pacific have promised to "look
    N
into the drainage problems and downed power lines. but Union Pacific has failed or

refused to take any action to correct problems with the drainage or downed power lines.

                                 CAUSE OF ACTION NO. I

        37.   RPI incorporates by reference as if set forth fully herein word for word

allegations contained within paragraph nos. 1-36 of the Complaint.

        38.   RPJ and Three Way continue to suffer damage to their reputations, business

models, and employee morale as a result of Union Pacific continuously and unlawfully

violating the regulations that prohibit Union Pacific from blocking crossings for excessive

amounts of time. There is no adequate remedy at law available to RPI or Three Way to

remedy the damage that has been sustained and which is ongoing.

        39.   Union Pacific's practice of parking its trains in front of Three Way's and RPI's

facilities has created a substantial, unreasonable and foreseeable risk of harm to the public

and employees of RPI. It is only a matter of time before someone is injured or killed if

Union Pacific continues to ignore the regulations governing blocked crOSSings. There is no

adequate remedy at law that will prevent Union Pacific from engaging in the conduct that

creates a substantial risk of injury and death as the employees and customers of RPJ, in

their frustration. choose to climb through the trains that are parked for excessive amounts

of time.

        40.   Union Pacific is prohibited by law from unreasonably restricting RPI's access

to its property.   However, Union Pacific has demonstrated a pattern and practice of
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ignoring the law it is obligated to follow. RPI and Three Way have no adequate remedy at

law and seek a mandatory injunction against Union Pacific preventing Union Pacific from

blocking RPl'sand Three Way's access to their businesses and property.

       41.    RPl is entitled to an injunction preventing Union Padfic from depriving RPI

of the use and enjoyment of its property and compelling Union Pacific to comply with the

rules and regulations   gov~rning   Union Pacific. In particular, Union Pacific should be (1)

enjoined from unlawfully blocking the access to the property and businesses of Three Way

and RPI; (2) compelled to repair and maintain the fallen power lines, obstructed drainage,

and right of way in general; and (3) prohibited from using the crossings at RPI and Three

Way's facilities as an extension of Union Pacific's rail yard because their practice of using

the rail line as part of the yard changes the fundamental nature of the property and

unlawfully interferes with the property rights ofRPI and Three Way.

                                     CAUSE OF ACTION II

       42.    RPI incorporates by reference as if set forth fully herein word for word

allegations contained withil) paragraph nos.   1~41   ofthe Complaint.

       43.    The unlawful depravation of RPl's property rights has resulted in the

"inverse condemnation" and taking of RPI's property. Union Pacific's expansion of its rail

yard to the abandoned rail line formerly owned by Chicago, Rock Island and Pacific

Railroad Company has resulted in the denial of RPI's full use and enjoyment of its property.

       44.    Union Pacific's constant blockages of RPI's property coupled with Union

Pacific's failure to maintain the rail line, has caused damages to RPI in the form of lost

efficiency in the work place and harm to its reputation due to RPl's inability to receive and
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ship goods and loss of use of its property due to the restricted access and loss of parking

due to the flooding caused by Union Pacific's failure to maintain its presumed right of way.

The interference with RPl's property rights has also harmed RPI's corporate culture and

business model because RPI has not been able to serve its customers as it has done for

decades and because the employees are locked in and out of the facility without regard to

their personal schedules or the work requirements of RPI.

       45.     The foregoing actions and omissions by Union Pacific constitute a taking and

deliberate indifference to RPJ's rights under the Fifth and Fourteenth Amendments of the

United States Constitution, Article II §22 of the Constitution of the State of Arkansas, and

Ark Code Ann. § 18-15-102.

       46.     RPI is entitled to damages, injunctive relief, costs, and attorney's fees as a

result of Union Pacific's unlawful taking of its property.

                                     CAUSE OF ACTION III

       47.     RPI incorporates by reference as if 'set forth fuIly herein word for word

allegations contained within paragraph nos. 1-46 of the Complaint.

       48.     The State of Arkansas endowed Union Pacific with powers of eminent

domain and condemnation which are traditionally and exclusively governmental in nature.

       49.     Union Pacific's exercise of condemnation of RPI's real property rights was a

public function and, as a result, Union Pacific is a state actor.

       SO.     Union Pacific's denial of RPI's property rights, denial of RPI's ability to

engage in commerce, and denial of safe ingress and egress to the RPI facility has resulted in

the deprivation of RPI's, its customers', and its employees' rights and privileges secured by
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the Constitutions and laws of the United States and the State of Arkansas.             As a

consequence, RPI is entitled to redress pursuant to 42 U.S.C. § 1983 and Ark. Code Ann. §§

16-123-105 et seq.

       51.     RPI is entitled to damages, injunctive relief, costs, and attorney's fees as a

result of the deprivation of RPI's rights.

                                     CAUSE OF ACTION IV

       52.     RPI incorporates by reference as if set forth fully herein word for word

allegations contained within paragraph nos. 1-51 of the Complaint.

       53.     Union Pacific's constant blockages of Three Way's and RPI's property in

effect imprisons the employees and customers in the facility.         Moreover, emergency

personnel are effectively locked out of the facility for those times when RPI's access to its

property is unlawfully blocked.

       54.     Union Pacific's pattern and practice of blocking access to the property,

coupled with its failure to maintain the rail line and surrounding area, has deprived RPI

and its subsidiary of the use and enjoyment of the property and has resulted in

unreasonable risks of eminent harm to the public and employees of RPI by virtue of the

individuals climbing through the parked trains as well as the restricted access to

emergency services.

       55.     The above acts and omission of Union Pacific constitute a nuisance and has

prOXimately .caused harm to Three Way and RPI. Three Way and RP[ are entitled to

damages and injunctive relief for the abatement of the nuisance.


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                                           DAMAGES

           56.   RPJ incorporates by reference as if set forth fully herein word for word

allegations contained within paragraph nos. 1-55 of the Complaint.

           57.   Replacement Parts, Inc.; Parts Warehouse, Inc.; and Three Way Transfer of

Arkansas have suffered damages in the form of lost productivity, loss of the use and

enjoyment of their property, diminution in value to RPI's property, attorney's fees and

costs. These damages continue to grow, and in the event Union Pacific's misconduct is not

corrected, RPI may be forced to relocate in order to mitigate its losses, maintain its

business model, and mend the damage to its business reputation. ]n that event, RPI will

also suffer costs of relocating, re-engineering, and re-tooling the new facility. Without

regard to the other recoverable damages, the appraised diminution in value to RPl's

property as a result of the blockages has been appraised in excess of 1.4 million do))ars.

           58.   The damages of Three Way and RPI exceed the minimum amount for Federal

diversity jurisdiction.

           59.   Three Way and RP] are entitled to an injunction (1) prohibiting Union Pacific

from unlawfully blocking the access to the property and businesses of Three Way and RP];

(2) compelling Union Pacific to repair and maintain the fallen power lines, obstructed

drainage, and right of way in general; and (3) prohibiting Union Pacific from using the

crossings at RP] and Three Way's futilities as an extension of Union Pacific's ran yard.

           60.   RPI and Three Way respectfu))y request a trial by jury on a)) contested issues

of fact.


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       61.     RPl and Three Way reserve the right to plead further upon the discovery of

additional facts.

       WHEREFORE, Replacement Parts, Inc.; Parts Warehouse, Inc.; and PCD, Inc. d/b/a

Three Way Transfer of AR pray for injunctive relief and that they have and recover

judgment against Union Pacific Railroad sufficient to compensate them for their damages,

attorney's fees, costs, and all other relief to which they may be entitled.


                                            Respectfully submitted,

                                            BARBER, McCASKILL, JONES & HALE, PA
                                            Attorneys at Law
                                            2700 Regions Center
                                            400 West Capitol Avenue
                                            Little Rock, AR 72201
                                            (501) 37      75·

                                            By::~~~~~~-
                                                  AR BIN 95181

                                            Attorneys for Plaintiffs, Replacement Parts, Inc.;
                                            Parts Warehouse, Inc.; and peD, Inc. d/b/a Three
                                            Way Transfer of AR




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                             WHEREAS, Robert M. Goff, Tr•• R1cbard A. Goff, Sr. and )UUe Cofi

                    Allen   ftCQub~ lb"      followtnq described   I~nds   In Pulasld County, Arkansas,

                    frolll Cb!o8110. Rook Island & raciflc RaIl1'oad COIllpal\Y by Warranty Deed of

                    record in   l'Ulas~    County, Arkansas. need Book liZZ at page 391. whLob Janda



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                             IOS9. 7 8 .feet to the point of beginning; and

                             WBEIlFAS.      ~     l"nds are subject to the provislon5       at unrecoIded         rigbt­

                 of-way pennit dated Novelllber S. 1935 from aPOK Island Improvemlll1t Company

                 10 ,l\r~anSCl5 Power & Ught Company perla1n1n9 to certain lands wltlUn which the

                 above desoribed lalltls ere located, a photo-capy of wblch right-ot-way permit

                 is attached hereto and made a part bereo!1

                             NOW, THEREFORE, for the conSJd9ratlons prQlI1ded for ln s61d Warranty

                 Deed referred to noovB. Ch1DiSIlO. RlX;Jo> 1II10nd &. Paclf10 Rllllroad compahY!:a'"0es' ,

             .·"tlereI51"fi1Js19~ a 11 H-s t1ghb u Lessor In and to llirid rlg'M-or-'WII~ p~nnlt dated

                 November 5,' 1935 in-Meat &5 it applies to the above llescrtbed                  1~nd8    itcquired by.'

                 Robert M. Goff, Jr•• R1chardA. Goff, 5:'. and Julie Go(fAllen, only, to sale!

                 Robert M. Goff ~         Ir., Richard A. Gofr. Sr.   iu.d Julio Gof! ALJe n :




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Case 4:10-cv-01872-BSM Document 2 Filed 11/24/10 Page 19 of 30




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                                                              ACKNOWLEDGMENT

              31An; or I1IlNOlS                  )
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              COUNtY OF coox                     )
                         On this 28th day of _ _.,!;l:fa!llvJ;..,.                • 1974, before me. a Notary

              publiC, wlth11l and for the county and Slate afOIeoSlJid. duly c:omll'l1Ss1oned. quaU­

              tied and acUll<J.         ~ersonaUv,appeared              II. A. 'LIIIIl1>ertY           and         ---'_

              E. 1'. Jiilld.!lB;ll!l      • to   dIS    welt known, who     Slated    tllal tlley WGr8 tbl> lAA!e IIIIpenhDT

              alld       secretary                   of Chll%01t,Jo, Roc): blalld & Pacifio IleJlrOlld Company, and

               lllat thlll' were authorlr:ed 10             ~BCl1te   the Jol'E'gof~lJ instrument in the name and be-

              hall 01 s"Jd corponll1on. lind acknowled9ed tbat they bad executed same for the

              conskloration and pUllloses thllretn contained.

                         IN WITNESS WHEREOF. 1 bave hereunto set my hand and officIlS1 seal this

              ~davof_._..:Ma='L-                            ' 1914.




              My Commission expires:




             . '(SrAL)
                 Case 4:10-cv-01872-BSM Document 2 Filed 11/24/10 Page 20 of 30




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                          BLDBEDGE & CL.~
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                          Dea-r Mr. Terry r

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                          favor of A:rltaPSaS Powe'r aJ:ld Light CoItJpa:o.y, as LealJee, tbe Rock
                          '£.gland Impl'ovement C01UPany as 'Lessor. bere1J1 assigns said :Lease ~o
                          Robe:r;t M. Goff, Jr., Richard A. Goff, Sl:'., and Juli& Coff ~len.

                               The I"es3ee. by copy of tb1s letter t is boug advised of this
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                          cc::    AnauAS Power & Li~t Cvmpany
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                                  T.11:cl.~ iQdt. Arkansas 72Z03

                                  RobCl"r't M. Goff,        J'r..   et a1
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                                  Linle lloc:k, AR 72201

                          Enclosure:         Ol:1.ginal Lease

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              Case 4:10-cv-01872-BSM Document 2 Filed 11/24/10 Page 21 of 30




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Case 4:10-cv-01872-BSM Document 2 Filed 11/24/10 Page 22 of 30




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Case 4:10-cv-01872-BSM Document 2 Filed 11/24/10 Page 23 of 30




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Case 4:10-cv-01872-BSM Document 2 Filed 11/24/10 Page 24 of 30




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                                             fl6-G800G
          KliIOI'l ALL lUlII BY 'J'HBSE PREBsnTS I
                         Tha~   City of Little Hock, Arkap6AB, grantor. by its
          Mayor and City Clork, duly                  autboriz~            by   prupox resoJution of
          it. City Board of Dlrectof9, for the                            conaidera~iDn of                the dma
          of Ono Hundred Dollars               (9100.~D)            Dnd othDr    v~iunble con~~~ra­

          tlol1 In hand paid by 'arta lfareho\lse, Inc., grAnteo, thl! rLoceipt
          of   wb~ch     1s hereby acknowledged, doe8 grant, bargain. aell and
          convey uoto thB said grAAtoB and unto
          fOrB~!r       the following de8Crlbed land, situatod in Pulaski                                                   r
                                                                                                                             '"
                                                                                                                            a
                                                                                                                            Ro
                               Lot 1, Strafco's Replat of Goff's No.1                                                       :;0
                               r~dit1on to tbe City of Little Rock.                                                         IT!
                               Pulaski County, Arkansas,                                                                    C')
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         of way and rastrlctlono of record, if-Any. Bnd                                ~onYaylng             herein
         the inteJ:aat of g••ntor Ilpquir<>d by qrantor .in warrlUlty                                      J)<)ed

         fro. Strafco, Inc.·, tilocl for rocord OD Decelllber :t,                                   nn,       and
         recorded as InstrUMent No.                  81~4536B.

                        IN TESTIMONY· WHEREOF,                ~ho    name of tbe grantor ie bereunto
        affixod by Its Mayor and attected anu-itB                               6c~1   affixed by lts
        City Cl~rA        QP   thl~ ~dIlY·Of OatOber,· 1~86.

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    Case 4:10-cv-01872-BSM Document 2 Filed 11/24/10 Page 25 of 30




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            the foregoing      In.trQmen~    tor tho purposes tberain contained, by
            Bignln'1 th.    naJlIe   of the C1ty of L1ttle Roc:k, ArkanBall, by tbellUu.l••,;
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            0& october, 1986.
         Case 4:10-cv-01872-BSM Document 2 Filed 11/24/10 Page 26 of 30




            IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                               5TH DIVISION

REPLACEMENT PARTS, INC.;                         )
PARTS WAREHOUSE, INC.; AND PCD,                  )
INC. d/b/a THREE WAY TRANSFER OF AR              )
                                                 )
              Plaintiffs,                        )      Case No. 60 CV 2010 6118
                                                 )
vs.                                              )
                                                 )
                                                 )
                                                 )
UNION PACIFIC RAILROAD COMPANY,                  )
                                                 )
              Defendant.                         )
                                                 )



                      NOTICE OF FILING NOTICE OF REMOVAL

       Defendant, Union Pacific Railroad Company hereby gives Notice of its filing of a Notice

of Removal in the United States District Court for the Eastern District of Arkansas on November

24,2010, a copy of which is at attached hereto as "Exhibit A."

                                            Respectfully Submitted,

                                            GIBBS, ARMSTRONG, BOROCHOFF,
                                             MULLICAN & HART, P.C.




                                      *     EXHIBIT

                                      ~~
                                      j
        Case 4:10-cv-01872-BSM Document 2 Filed 11/24/10 Page 27 of 30




                              CERTIFICATE OF DELIVERY

       I hereby certify that a full, true and correct copy of the above and foregoing document
was served on the 23 rd day of November, 2010, via:

              U. S. First Class Mail, proper postage prepaid;
              USPS - Signature Confinnation;
              Facsimile;
              Hand Delivery;
              Overnight Express Delivery

to the following counsel ofrecord:

James D. Robertson
BARBER, McCASKILL, JONES, & HALE, P.A.
2700 Regions Center
400 West Capitol Avenue
Little Rock, AR 72201

ATTORNEYS FOR PLAINTIFFS




                                               2
                    Case 4:10-cv-01872-BSM Document 2 Filed 11/24/10 Page 28 of 30
- Not an Official Document                                                                                 Page 1 of~
-Report Selection Criteria

 Case ID:            60CV-10-6118
 Citation No:
 Docket Start Date:
 Docket Ending Date:


Case Description

 Case ID:        60CV-10-6118 - REPLACEMENT PARTS ET AL V UNION PACIFIC RAILROAD
 Filing Date:    Tuesday October 26th, 2010
                          I



 Type:           OM - OTHER-CIVIL MISC
 Status:         none
 Images:



Case Event Schedule
                                                                                                EXHIBIT
No case events were found.

Case Parties


 501 )340-8550
   Seq #        Assoc End Date         Type                  ID           Name
         1                             JUDGE                17965388    I HON. ERNEST SANDERS, JR - 5TH
                                                                          DIVISION 6TH CIRCUIT
 Aliases: none


        2                             1PLAINTIFF            111061738811 REPLACEMENT PARTS, INC.
 Aliases: none


         3                             PLAINTIFF             10617391 PARTS WAREHOUSE, INC.
 Aliases: none


        4                              PLAINTIFF            11061739211 PCD, INC.
 Aliases: THREE WAY
          TRANSFER OF AR


         5                             DEFENDANT             10617393 UNION PACIFIC RAILROAD

https://arep l.aoc.arkansas.gov/cconnectIPROD/public/ck--public_qry_doct.cp_dktrpt_docket_report?case...   11/23/201 (
                    Case 4:10-cv-01872-BSM Document 2 Filed 11/24/10 Page 29 of 30
- Not an Official Document                                                                               Page 2 of~
    ..
                         II               II               I             I COMPANY
 Aliases: none


          6                               I PLAINTIFF          1006017   IROBERTSON, JAMES D
                                               ATTORNEY
                          I
 Aliases: ROBERTSON, JAMES
          D.

I

Violations




Sentence

No Sentence Info Found.




Docket Entries

 Filing Date         I
                         -       iption                                          I   Name                Monetary
 10/26/2010              MOF ORIGINAL
 04:11 PM
 Entry:                  none.
 Images                  No Images


 10/26/2010              COMPLAINT/PETITION FILED $
 04:11 PM
 Entry:                  none.
 Images                  WEB

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 10/26/2010              SUMMONS ISSUED
 04:11 PM
 Entry:                  none.
 Images                  No Images

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                    Case 4:10-cv-01872-BSM Document 2 Filed 11/24/10 Page 30 of 30
- Not an Official Document                                                                               Page 3 of~
  ,   . .
 10/28/2010           PAYMENT RECEIVED
 01:10 PM
                                                                                              I
 Entry:              A Payment of -$165.00 was made on receipt 60C125659.
 Images               No Images


 10/29/2010
 04:14 PM
 Entry:
                      SUMMONS SERVED


                      SERVED DEF 10/28/10
                                                                                 01
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